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                                                                           November 5, 2020



            Via ECF Filing
            The Honorable Paul A. Engelmayer
            United State District Judge
            Southern District of New York
            United States Courthouse
            500 Pearl Street
            New York, NY 10007

                                            Re: United States v. Faustin
                                               Docket No. S7 19 CR 131 (PAE)

            Dear Judge Engelmayer:

                   I represent Geraldine Faustin in the above-referenced matter. Sentencing of Ms. Faustin
            presently is scheduled for November 20, 2020. I write now to request that sentencing be
            adjourned for approximately two weeks. I have communicated with Government counsel
            regarding this request and have been advised that the Government has no objection to this
            request. The reason for this request is that I need some brief additional time to complete a
            sentencing submission and then to prepare for sentencing. It would be my preference to have an
            in-person sentencing proceeding if that is workable. Ms. Faustin is on bail and not in custody.

                    The Court has suggested December 9, 2020 as a new date. I am available on that date.

                       Thank you for the Court’s consideration of this request.
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GRANTED. Sentencing is adjourned to December 9, 2020                          Respectfully submitted,
at 2:30 p.m. The parties shall serve their sentencing
submissions in accordance with this Court's Individual                               /s/
Rules & Practices in Criminal Cases. The Clerk of Court is                    John F. Kaley
requested to terminate the motion at Dkt. No. 560.                  11/5/2020
                           SO ORDERED.

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                                     __________________________________
                                           PAUL A. ENGELMAYER
                                           United States District Judge
